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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                 )
SARAH WALKER,                                    )
                                                 )
        Plaintiff,                               )
                                                 )        Case No.: 1:22-cv-03312-APM
v.                                               )
                                                 )
NEW VENTURE FUND, et al.,                        )
                                                 )
        Defendants.                              )

                         DEFENDANT NEW VENTURE FUND’S
                     ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

        Defendants New Venture Fund, et al., (“NVF” or “Defendants”), by and through its

undersigned counsel, and in response to the Amended Complaint [Doc. 12] (“Complaint”) filed

by Sara Walker (“Walker” or “Plaintiff”) hereby submits this Answer.                   Defendant denies

liability, and responds to the individually numbered paragraphs of the Complaint and interposes

defenses as follows:1

                                    NATURE OF THE ACTION

        1.      The allegations in Paragraph 1 relate to a claim or claims that have been

dismissed, which require no response. To the extent a response is required, Defendant admits the

allegations in Paragraph 1.



1
  NVF will restate, but does not adopt, the section headings used by Plaintiff. NVF has not responded to
the five unnumbered introductory paragraphs of the Complaint wherein Plaintiff states the causes of
action she purports to bring against NVF and asserts her purported status as a “whistleblower” under the
Taxpayer First Act, 26 U.S. Code § 7623(d). Because those paragraphs are introductory and not set out in
numbered paragraphs stating her claims as required by Rule 10(b) of the Federal Rules of Civil
Procedure, and because they are principally directed at a claim dismissed by the Court’s Memorandum
Opinion and Order dated March 14, 2024 [Doc. 22], no response is required. To the extent that a
response is required, NVF denies that it violated the Internal Revenue Code and admits that it formerly
employed Plaintiff, placed her on paid administrative leave on October 29, 2021 and discharged her from
employment in October 2022, and that she purports to bring this civil action pursuant to the listed statutes
although most of her claims are now dismissed.
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       2.      The allegations in Paragraph 2 relate to a claim or claims that have been

dismissed, which require no response. To the extent a response is required, NVF admits that it

has a contractual relationship with Arabella Advisors, a firm that provides compliance, human

resources, and other administrative services to NVF, and that Arabella is, upon information and

belief, a for-profit enterprise. NVF admits that it is a large public interest nonprofit, and avers

that as reported on its Form 990, in 2020 NVF made total expenditures exceeding $658 million

in furtherance of its charitable mission. Defendant denies the remaining allegations in Paragraph

2 of the Amended Complaint.

       3.      Upon information and belief, Defendant admits that Voting Rights Lab (“VRL”)

was co-founded in 2018 by Megan Lewis and Samantha Tarazi who are President and Vice

President, respectively, of the organization, and that they both appear to be white females.

Defendant further admits that Voting Rights Lab became a fiscally-sponsored project of New

Venture Fund as a nonpartisan initiative to promote free and fair elections, and was during the

period of sponsorship a trade name registered by NVF. Defendant denies the remaining

allegations in Paragraph 3 of the Amended Complaint.

       4.      Paragraph 4 of the Amended Complaint, in part, calls for a legal conclusion to

which no response is required. Upon information and belief, Defendant admits that SD and its

successor SD USA are exempt under section 501(c)(4) of the Internal Revenue Code as social

advocacy organizations and that part of their mission was to protect and secure fair elections.

Defendant denies all other allegations in Paragraph 4.

       5.      Upon information and belief, Defendant admits that SD was established in 2018

and that before its dissolution, Heather Smith, who appears to be a white female, was the Chair

of Defendant’s Board of Directors. Defendant denies all other allegations in Paragraph 5.



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       6.      Defendant admits the allegations in the first sentence of Paragraph 6 of the

Amended Complaint. Defendant admits that the Voting Rights Lab project and SD worked

collaboratively on similar issues and to further similar missions and that Plaintiff became its

employee at that time. NVF lacks knowledge or information sufficient to form a belief about the

remaining allegations of Paragraph 6, including because “affiliated” is an undefined term capable

of different meanings.

       7.      The allegations in the first sentence of Paragraph 7 of the Amended Complaint

have been dismissed, in part, and require no response. Defendant denies the allegations of the

first sentence of Paragraph 7, other than to admit that Plaintiff appears to be an African

American woman. Defendant denies the remaining allegations of Paragraph 7, other than to

admit that Plaintiff began her employment in September 2019 as an Associate Director and was

continually promoted throughout her employment.

       8.      Defendant admits to the content of the Mission and Values statement recited in in

Paragraph 8. The remainder of Paragraph 8 is argument rather than a short, plain statement of

claim as required by Rule 8, and as such no further response is required.

       9.      Defendant denies the allegations in Paragraph 9.

       10.     Defendant denies the allegations in Paragraph 10.

       11.     The allegations in Paragraph 11 relate, in part, to a claim or claims that have been

dismissed and require no response. Defendant denies all remaining allegations in Paragraph 11.

       12.     Defendant denies the allegations in Paragraph 12 of the Amended Complaint.

                                JURISDICTION AND VENUE

       13.     Paragraph 13 of the Amended Complaint calls for a legal conclusion to which no

response is required. In addition, the allegations in Paragraph 13 relate to a claim that has been



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dismissed, which requires no response.

       14.      Paragraph 14 of the Amended Complaint calls for a legal conclusion to which no

response is required.

       15.      Paragraph 15 of the Amended Complaint calls for a legal conclusion to which no

response is required.

       16.      Paragraph 16 of the Amended Complaint calls for a legal conclusion to which no

response is required. To the extent a response is required, NVF admits that at times, its principal

offices have been located in the District of Columbia.

       17.      The allegations in Paragraph 17 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Furthermore, it calls for a legal

conclusion to which no response is required.

       18.      Paragraph 18 of the Amended Complaint calls for a legal conclusion to which no

response is required. To the extent a response is required, Defendant denies the allegations in

Paragraph 18.

                                            PARTIES

       19.      Defendant lacks knowledge or information sufficient to form a belief about the

allegations set forth in the first sentence of Paragraph 19 of the Amended Complaint. The

allegations in the second sentence of Paragraph 19 have been dismissed, in part, and require no

response. Defendant admits that the Plaintiff appears to be an African American female. The last

sentence of Paragraph 19 calls for a legal conclusion to which no response is required. To the

extent a response is required, Defendant denies the allegations in the last sentence of Paragraph

19.

       20.      Defendant NVF admits it is a District of Columbia nonprofit corporation with its



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principal place of business at 1828 L Street, NW, Suite 300, Washington, DC 20036, that VRL

was a fiscally-sponsored projects of NVF, that “Voting Rights Lab” was a registered trade name

for NVF, and that some NVF “non-project employees,” as it understands the intended use of that

term, are located in the District of Columbia. Defendant denies the remaining allegations of

Paragraph 20.

       21.      Upon information and belief, Defendant admits the first sentence of Paragraph 21

of the Amended Complaint. Upon information and belief, Defendant denies any allegation

inconsistent with the document or documents referenced in the second and third sentences of

Paragraph 21 and refers to the true and accurate copy of said document or documents.

       22.      Upon information and belief, Defendant admits the allegations contained in the

first sentence of Paragraph 22 of the Amended Complaint. Upon information and belief,

Defendant denies any allegation inconsistent with the document or documents referenced in the

second sentence of Paragraph 22 and refers to the true and accurate copy of said document or

documents.

       23.      Part of the allegations in Paragraph 23 relate to a claim or claims that have been

dismissed, which require no response. To the extent a response is required, Defendant denies the

allegations in Paragraph 23.

                                  FACTUAL ALLEGATIONS

A.     Defendants Paid Minority Female Employees Less

       24.      Upon information and belief, Defendant denies the allegations in the first sentence

of Paragraph 24 of the Amended Complaint. In addition, the allegations in Paragraph 24 relate

to a claim or claims that have been dismissed, which require no response. To the extent a

response is required, Defendant denies the remaining allegations in Paragraph 24



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       25.     The allegations in Paragraph 25 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Upon information and belief, and to

the extent a response is required, Defendant denies the allegations in Paragraph 25, other than to

admit that Ms. Lewis and Ms. Tarazi both appear to be white females

       26.     Upon information and belief, Defendant admits the allegations in the first

sentence of Paragraph 26 of the Amended Complaint. NVF lacks knowledge or information

sufficient to form a belief about the allegations in the second and third sentences of Paragraph

26. Upon information and belief, Defendant denies the remaining allegations set in Paragraph

26, except that it lacks knowledge or information sufficient to form a belief as to whether

Plaintiff was interviewed by Ms. Lewis and offered a position.

       27.     Defendant lacks knowledge or information sufficient to form a belief about the

allegations of Paragraph 27 of the Amended Complaint.

       28.     Upon information and belief, the allegations in Paragraph 28 of the Amended

Complaint relate to a claim or claims that have been dismissed, which require no response.

Upon information and belief, and to the extent a response is required, Defendant denies the

allegations in Paragraph 28.

       29.     The allegations in Paragraph 29 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant denies the allegations in Paragraph 29.

       30.     The allegations in Paragraph 30 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, upon information and belief, Defendant denies the allegations in Paragraph 30.

       31.     The allegations in Paragraph 31 of the Amended Complaint relate to a claim or



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claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant admits that Soncia Coleman appears to be an African-American female and

that Liz Avore appears to be a white female. Upon information and belief, Defendant denies the

remaining allegations in Paragraph 31.

       32.     The allegations in Paragraph 32 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Upon information and belief, and to

the extent a response is required, Defendant denies the allegations in Paragraph 32

       33.     The allegations in Paragraph 33 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant admits the allegations in the first and last sentences of Paragraph 33.

Defendant denies the remaining allegation in Paragraph 33.

       34.     The allegations in Paragraph 34 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant admits that Sarah Jane Higginbotham was hired in early May 2020.

Defendant denies the remaining allegations in Paragraph 34.

       35.     The allegations in Paragraph 35 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant denies the allegations in Paragraph 35.

       36.     The allegations in Paragraph 36 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant denies the allegations in Paragraph 36.

      37.      Defendant lacks knowledge or information sufficient to form a belief about the

allegations of Paragraph 37.



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      38.       Defendant admits that Christian LoBue appears to be an African American

female.     Defendant lacks knowledge or information sufficient to form a belief about the

remaining allegations in Paragraph 38.

B.        Defendants Denied Minority Employees Equal Access to Resources

          39.   Defendant admits that as part of a restructure on or around December 1, 2020,

Ms. Walker was promoted to Vice President of Advocacy at Voting Rights Lab. Upon

information and belief, Defendant admits the remaining allegations in Paragraph 39 of the

Amended Complaint.

          40.   Upon information and belief, Defendant admits that at the time Ms. Walker was

promoted to Vice President, two other employees, both of whom appeared to be white, also had

the title Vice President. Upon information and belief, Defendant denies the remaining allegations

in Paragraph 40.

          41.   The allegations in Paragraph 41 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.        To the extent a response is

required, Defendant denies the allegations in Paragraph 41.

          42.   Defendant denies the allegations of the first sentence of Paragraph 42 of the

Amended Complaint. Upon information and belief, Defendant denies the remaining allegations

in Paragraph 42 of the Amended Complaint.

          43.   Upon information and belief, Defendant denies the allegations in Paragraph 43 of

the Amended Complaint.

C.        Defendants Denied Minority Employees Equal Access to Benefits

          44.   Upon information and belief, Defendant denies the allegations in Paragraph 44 of

the Amended Complaint.



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       45.     Defendant denies the allegations in Paragraph 45 of the Amended Complaint.

       46.     The allegations in Paragraph 46 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.         To the extent a response is

required, Defendant denies the allegations in Paragraph 46.

D.     Defendants Discriminated Against Plaintiff Because of Her Disability

       47.     The allegations in Paragraph 47 of the Amended Complaint relate to a claim or

claims that have been dismissed and call for a legal conclusion, such that no response is required.

To the extent a response is required, Defendant lacks knowledge or information sufficient to

form a belief about the non-conclusory factual allegations of Paragraph 47.

       48.     The allegations in Paragraph 47 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant lacks knowledge or information sufficient to form a belief about the non-conclusory

factual allegations of Paragraph 48.

       49.     The allegations in Paragraph 49 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Upon information and belief, and to

the extent a response is required, Defendant denies the allegations in Paragraph 49.

       50.     Defendant denies the allegations in Paragraph 50.

       51.     Defendant denies the allegations in Paragraph 51.

       52.     The allegations in Paragraph 52 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Upon information and belief, and to

the extent a response is required, Defendant denies the allegations in Paragraph 52.

       53.     The allegations in Paragraph 53 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Upon information and belief, and to



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the extent a response is required, Defendant denies the allegations in Paragraph 53.

       54.     The allegations in Paragraph 54 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant admits that Ms. Harrington was a Vice President and supervisor at VRL. Defendant

denies the remaining allegations in Paragraph 54.

E.     Defendants Created a Hostile Work Environment

       55.     Defendant denies the allegations in Paragraph 55 of the Amended Complaint.

       56.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 56.

       57.     Defendant denies the allegations in the first and second sentence of Paragraph 57

of the Amended Complaint. Upon information and belief, Defendant denies the remaining

allegations in Paragraph 57 of the Amended Complaint.

       58.     Upon information and belief, Defendant denies the allegations in Paragraph 58 of

the Amended Complaint.

       59.     Defendant denies the allegations in Paragraph 59 of the Amended Complaint.

       60.     Upon information and belief, Defendant denies the allegations in Paragraph 60 of

the Amended Complaint.

       61.     Upon information and belief, Defendant denies the allegations in Paragraph 61 of

the Amended Complaint.

F.     Plaintiff Opposed Defendants’ Discrimination and Acted as a Whistleblower

       62.     The allegations in Paragraph 62 of the Amended Complaint, in part, relate to a

claim or claims that have been dismissed, which require no response. Defendant denies any

allegation that is inconsistent with the document or documents referenced in Paragraph 62 and



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refers to the true and accurate copy of said document or documents. To the extent further

response is required, Defendant denies the allegations in Paragraph 62.

       63.     The allegations in Paragraph 63 relate to a claim or claims that have been

dismissed, which require no response. Defendant denies any allegation that is inconsistent with

the document or documents referenced in Paragraph 63 and refers to the true and accurate copy

of said document or documents. To the extent further response is required, Defendant denies the

allegations in Paragraph 63.

       64.     Defendant admits the allegations in Paragraph 64 except that it lacks knowledge

or information sufficient to form a belief about “concerns” Plaintiff contends she “shared” during

this engagement.

G.     Plaintiff Opposed Defendants’ Violations of the Internal Revenue Laws and Acted
       as a Whistleblower

       65.     The allegations in Paragraph 65 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 65.

       66.     The allegations in Paragraph 66 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 66.

       67.     The allegations in Paragraph 67 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 67.

       68.     The allegations in Paragraph 68 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 68.

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       69.     The allegations in Paragraph 69 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 69.

       70.     The allegations in Paragraph 70 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 70.

       71.     The allegations in Paragraph 71 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 71 except to admit that on October 28, 2021, at

6:06 p.m., Ms. Walker sent an email to NVF General Counsel Andrew Schulz making

allegations she portrayed as concerns.

       72.     The allegations in Paragraph 72 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. To the extent a response is required,

Defendant denies the allegations in Paragraph 72.

H.     Retaliation

       73.     Defendant admits that on October 29, 2021, at 9:36 a.m., VRL suspended Ms.

Walker with pay from all her work with no prior notice. Defendant denies the remaining

allegations in Paragraph 73.

       74.     The allegations in Paragraph 74 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       75.     The allegations in Paragraph 75 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       76.     The allegations in Paragraph 76 of the Amended Complaint relate to a claim or



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claims that have been dismissed, which require no response.

       77.      The allegations in Paragraph 77 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response.

       78.      The allegations in Paragraph 78 of the Amended Complaint relate to a claim or

claims that have been dismissed, which require no response. Upon information and belief, and to

the extent a response is required, Defendant denies the allegations in Paragraph 78.

       79.      Defendant admits that it did not offer Ms. Walker a full-time position on or

around November 5, 2021 and that Ms. Walker was on paid leave. Upon information and belief,

Defendant denies the remaining allegations of Paragraph 79 of the Amended Complaint.

       80.      Defendant denies the allegations in Paragraph 80 of the Amended Complaint.

       81.      Defendant denies any allegation that is inconsistent with the document or

documents referenced in Paragraph 81 of the Amended Complaint and refers to the true and

accurate copy of said document or documents. Defendant denies the remaining allegations in

Paragraph 81.

       82.      Defendant denies any allegation that is inconsistent with the document or

documents referenced in Paragraph 82 of the Amended Complaint and refers to the true and

accurate copy of said document or documents.

       83.      Upon information and belief, Defendant denies the allegations set forth in the first

sentence of paragraph 83 of the Amended Complaint. The second sentence of Paragraph 83

improperly and incorrectly assumes as a central premise that Plaintiff was terminated from her

employment, which is not the case and is denied. Upon information and belief, Defendant further

denies that Plaintiff was not provided any information about her last day at SD.

       84.      Upon information and belief, Defendant denies the allegations in Paragraph 84.



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       85.    Defendant admits the allegations in the first sentence of Paragraph 85, but denies

any allegation inconsistent with the document or documents referenced in Paragraph 85 and

refers to the true and accurate copy of said document or documents. To the extent a further

response is required, Defendant denies the remaining allegations in Paragraph 85.

       86.    The allegations in Paragraph 86 relate to a claim or claims that have been

dismissed, which require no response. To the extent a response is required, Defendant denies the

allegations in Paragraph 86

       87.    Defendant denies the allegations in Paragraph 87 of the Amended Complaint.

       88.    Defendant denies any allegation inconsistent with the document or documents

referenced in the first two sentences of Paragraph 88 and refers to the true and accurate copy of

said document or documents. Defendant denies the remaining allegations in Paragraph 88.

       89.    Defendant admits the allegations in Paragraph 89 to the extent of receiving any

compensation or fringe benefits from NVF. Upon information and belief, Plaintiff is and has

been receiving pay and benefits from other employment.

I.     Damages Suffered

       90.    Defendant denies the allegations in Paragraph 90 of the Amended Complaint.

       91.    Defendant denies the allegations in Paragraph 91 of the Amended Complaint.

       92.    Defendant denies the allegations in Paragraph 92 of the Amended Complaint.

       93.    Defendant denies the allegations in Paragraph 93 of the Amended Complaint.

       94.    Defendant denies the allegations in the first sentence of Paragraph 94 of the

Amended Complaint. Upon information and belief, Defendant denies the remaining allegations

in Paragraph 94 of the Amended Complaint.

       95.    Upon information and belief, Defendant denies the allegations in Paragraph 95 of



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the Amended Complaint.

       96.     Upon information and belief, Defendant denies the allegations in Paragraph 96 of

the Amended Complaint.

       97.     Defendant denies the allegations in Paragraph 97 of the Amended Complaint.

       98.     Defendant denies the allegations in Paragraph 98 of the Amended Complaint.

                                             CLAIMS

                                 FIRST CAUSE OF ACTION
                                 Retaliation Prohibited by TFA

       99.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       100.    No response is required as the “First Cause of Action” has been dismissed.

       101.    No response is required as the “First Cause of Action” has been dismissed.

       102.    No response is required as the “First Cause of Action” has been dismissed.

       103.    No response is required as the “First Cause of Action” has been dismissed.

       104.    No response is required as the “First Cause of Action” has been dismissed.

       105.    No response is required as the “First Cause of Action” has been dismissed.

       106.    No response is required as the “First Cause of Action” has been dismissed.

       107.    No response is required as the “First Cause of Action” has been dismissed.

                              SECOND CAUSE OF ACTION
               Discrimination on the Basis of Race in Violation of the DCHRA

       108.    Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       109.    No response is required as the “Second Cause of Action” has been dismissed.

       110.    No response is required as the “Second Cause of Action” has been dismissed.



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       111.     No response is required as the “Second Cause of Action” has been dismissed.

       112.     No response is required as the “Second Cause of Action” has been dismissed.

       113.     No response is required as the “Second Cause of Action” has been dismissed.

       114.     No response is required as the “Second Cause of Action” has been dismissed.

       115.     No response is required as the “Second Cause of Action” has been dismissed.

       116.     No response is required as the “Second Cause of Action” has been dismissed.

       117.     No response is required as the “Second Cause of Action” has been dismissed.

       118.     No response is required as the “Second Cause of Action” has been dismissed.

       119.     No response is required as the “Second Cause of Action” has been dismissed.

       120.     No response is required as the “Second Cause of Action” has been dismissed.

                               THIRD CAUSE OF ACTION
                Discrimination on the Basis of Sex in Violation of the DCHRA

       121.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       122.     No response is required as the “Third Cause of Action” has been dismissed.

       123.     No response is required as the “Third Cause of Action” has been dismissed.

       124.     No response is required as the “Third Cause of Action” has been dismissed.

       125.     No response is required as the “Third Cause of Action” has been dismissed.

       126.     No response is required as the “Third Cause of Action” has been dismissed.

       127.     No response is required as the “Third Cause of Action” has been dismissed.

       128.     No response is required as the “Third Cause of Action” has been dismissed.

                               FOURTH CAUSE OF ACTION
              Discrimination on the Basis of Disability in Violation of the DCHRA

       129.     Defendant repeats its responses to all previous allegations of the Amended



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Complaint as if they were set forth in detail herein.

       130.     No response is required as the “Fourth Cause of Action” has been dismissed.

       131.     No response is required as the “Fourth Cause of Action” has been dismissed.

       132.     No response is required as the “Fourth Cause of Action” has been dismissed.

       133.     No response is required as the “Fourth Cause of Action” has been dismissed.

       134.     No response is required as the “Fourth Cause of Action” has been dismissed.

       135.     No response is required as the “Fourth Cause of Action” has been dismissed.

       136.     No response is required as the “Fourth Cause of Action” has been dismissed.

       137.     No response is required as the “Fourth Cause of Action” has been dismissed.

       138.     No response is required as the “Fourth Cause of Action” has been dismissed.

                                FIFTH CAUSE OF ACTION
                    Hostile Work Environment in Violation of the DCHRA

       139.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       140.     Defendant denies any allegation inconsistent with the Statute/Code referenced in

paragraph 140 of the Amended Complaint and refers to the true and accurate copy of the

Statute/Code.

       141.     Defendant denies any allegation inconsistent with the Statute/Code referenced in

paragraph 141 of the Amended Complaint and refers to the true and accurate copy of the

Statute/Code.

       142.     Defendant admits the allegations in paragraph 142 of the Amended Complaint.

       143.     Defendant denies the allegations in Paragraph 143 of the Amended Complaint.

       144.     Defendant denies the allegations in Paragraph 144 of the Amended Complaint.

       145.     Defendant denies the allegations in Paragraph 145 of the Amended Complaint.

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       146.     Defendant denies the allegations in Paragraph 146 of the Amended Complaint.

       147.     Defendant denies the allegations in Paragraph 147 of the Amended Complaint.

       148.     Paragraph 148 of the Amended Complaint does not contain factual allegations

capable of a response. To the extent a response is required, Defendant denies all allegations of

engaging in illegal, unlawful, or prohibited conduct.

                                 SIXTH CAUSE OF ACTION
                             Retaliation in Violation of the DCHRA

       149.     Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       150.     Defendant denies any allegation that is inconsistent with the Statute/Code

referenced in paragraph 150 of the Amended Complaint and refer to the true and accurate copy

of the said Statute/Code.

       151.     Defendant denies any allegation inconsistent with the Statute/Code referenced in

paragraph 151 of the Amended Complaint and refers to the true and accurate copy of the said

Statute/Code.

       152.     Defendant lacks knowledge or information sufficient to form a belief about the

truth of the allegations in Paragraph 152 of the Amended Complaint. To the extent a response is

required, Defendant denies all allegations of engaging in illegal, unlawful or prohibited conduct.

       153.     Defendant denies any allegation that is inconsistent with the document or

documents referenced in Paragraph 153 of the Amended Complaint and refers to the true and

accurate copy of said document or documents. Defendant denies all allegations that it engaged

in illegal, unlawful, or prohibited conduct.

       154.     Defendant denies the allegations in Paragraph 154 of the Amended Complaint

except to admit that it placed Plaintiff on paid leave from her position with NVF.

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       155.    Defendant denies the allegations in Paragraph 155 of the Amended Complaint.

       156.    Defendant denies the allegations in Paragraph 156 of the Amended Complaint.

       157.    Defendant denies the allegations in Paragraph 157 of the Amended Complaint.

       158.    Defendant denies the allegations in Paragraph 158 of the Amended Complaint.

       159.    Paragraph 159 of the Amended Complaint does not contain factual allegations

relating to this Defendant, requiring a response. To the extent a response is required, upon

information and belief Defendant denies the allegations in Paragraph 159.

       160.    Paragraph 160 of the Amended Complaint does not contain factual allegations

relating to this Defendant, requiring a response. To the extent a response is required, upon

information and belief Defendant denies the allegations in Paragraph 160.

       161.    Defendant denies the allegations in Paragraph 161 of the Amended Complaint.

       162.    Defendant denies the allegations in Paragraph 162 of the Amended Complaint.

       163.    Paragraph 163 of the Amended Complaint does not contain factual allegations

capable of a response. To the extent a response is required, Defendant denies all allegations of

engaging in illegal, unlawful, or prohibited conduct.

                               SEVENTH CAUSE OF ACTION
                          Intentional Infliction of Emotional Distress

       164.    Defendant repeats its responses to all previous allegations of the Amended

Complaint as if they were set forth in detail herein.

       165.    No response is required as the “Seventh Cause of Action” has been dismissed.

       166.    No response is required as the “Seventh Cause of Action” has been dismissed.

       167.    No response is required as the “Seventh Cause of Action” has been dismissed.

       168.    No response is required as the “Seventh Cause of Action” has been dismissed.

       169.    No response is required as the “Seventh Cause of Action” has been dismissed.

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       170.    No response is required as the “Seventh Cause of Action” has been dismissed.

       171.    No response is required as the “Seventh Cause of Action” has been dismissed.

       The lettered paragraphs on page 16 of the Amended Complaint are a prayer for

declaratory, compensatory, equitable, and other relief to which no answer is required. To the

extent an answer is required, Defendant denies that it is liable to the Plaintiff in any amount or

upon any theory of recovery and further denies that Plaintiff is entitled to any of the non-

monetary relief she demands.       Defendant respectfully requests that Plaintiff’s claims be

dismissed with prejudice and that Plaintiff take nothing by reason of said Amended Complaint.

Defendant further requests that the Court award Defendant any further relief it deems just and

proper, including, but not limited to, all costs, disbursements, and attorneys’ fees incurred by

Defendant in connection with the defense of this matter.

                                     GENERAL DENIAL

       NVF denies all allegations not expressly admitted herein.

                                  ADDITIONAL DEFENSES

       As additional defenses to the Complaint, NVF alleges as follows:

                                       FIRST DEFENSE

       Plaintiff’s claims are barred by the applicable statute of limitations, estoppel, release,

laches, set-off, or waiver.

                                      SECOND DEFENSE

       Plaintiff's Complaint fails to state a cause of action upon which relief can be granted as a

matter of fact and/or law.

                                       THIRD DEFENSE

       Plaintiff’s claims for damages are barred or reduced by her failure to mitigate her alleged



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damages or by the actual mitigation of damages and/or by his inability to prove actual damages.

                                     FOURTH DEFENSE

       NVF’s liability for Plaintiff’s claims is barred to the extent the alleged conduct was

engaged in by employees and/or agents acting outside the scope of their employment and/or

agency.

                                      FIFTH DEFENSE

       Plaintiff’s claims for punitive and liquidated damages are barred because NVF did not

engage in any conduct which would rise to the level required to sustain an award of punitive or

liquidated damages.

                                      SIXTH DEFENSE

       Even assuming that Plaintiff’s allegations were sufficient to warrant an award of punitive

or liquidated damages (and they are not), an award of punitive or liquidated damages would be

precluded by Defendant’s good faith efforts to comply with federal law, including all laws

pertaining to employment, and because the same action would have been taken regarding the

Plaintiff’s employment even in the absence of a discriminatory motive.

                                    SEVENTH DEFENSE

       Plaintiff’s claims are barred and/or recovery of damages is precluded due to Plaintiff’s

own misconduct that may be revealed during the discovery process (after-acquired evidence

doctrine).

                                     EIGHTH DEFENSE

       At all times relevant hereto, NVF acted in good faith and has not violated any rights

which may be secured to Plaintiff under any federal, state, or local laws, rules, regulations, or

guidelines, including but not limited to robust policies and procedures for preventing and



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detecting unlawful retaliatory and discriminatory practices and by Plaintiff’s failure to make use

of those procedures or to avoid harm otherwise.

                                       NINTH DEFENSE

       Plaintiff’s claims for damages are barred in whole or in part because any losses or

damages sustained by Plaintiff are de minimis, speculative, and/or transient and hence are not

cognizable at law.

                                       TENTH DEFENSE

       Plaintiff’s claims are barred in whole or in part by the applicable statute(s) of limitations.

                                    ELEVENTH DEFENSE

       Plaintiff’s claims are barred in whole or in part to the extent she has failed to exhaust

administrative remedies or has chosen to elect her remedies in another forum.

                                     TWELVTH DEFENSE

       None of the Defendants are the alter ego of any other entity alleged in the Complaint.

                                   THIRTEENTH DEFENSE

       None of the Defendants are the legal predecessors of any other entity alleged in the

Complaint.

                                  FOURTEENTH DEFENSE

       Plaintiff’s claims are barred in whole or in part by D.C. Code §29-412.06.

                             FIFTEENTH SEPARATE DEFENSE

       Plaintiff’s claim for punitive damages violates Defendant’s rights under the Fourth, Fifth,

Eighth and Fourteenth Amendments to the United States Constitution.

                                    SIXTEENTH DEFENSE

       Plaintiff is not entitled to punitive damages as Defendant’s actions or inactions toward

Plaintiff, if any, were not committed with malice and/or reckless indifference or disregard of any

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rights of Plaintiff and Defendant pleads all defenses made available by the Supreme Court’s

decision in Kolstad v. American Dental Association.



          NVF reserves the right to rely on each and every additional defense that may become

known to it through the course of this litigation, including discovery, trial, or otherwise. NVF

expressly reserves the right to amend this Answer, to assert different or additional defenses, or to

otherwise amend any of its denials or averments.

          WHEREFORE, NVF respectfully requests that Plaintiff’s claims be dismissed.

as follows:

          1.     For an Order dismissing Plaintiff’s Complaint with prejudice and entering

judgment in favor of NVF and against Plaintiff;

          2.     For all costs, disbursements and reasonable attorney’s fees incurred by NVF in

connection with the defense of this matter; and

          3.     For all other relief as the Court in the exercise of its discretion deems just and

proper.

                                              Respectfully submitted,


Dated: April 11, 2024                         /s/ Joseph E. Schuler
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                                              Roy Lyford-Pike (DC Bar No. MD0084)
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